Case 1:18-cv-02192-HG-PK                Document 84-2            Filed 03/04/22      Page 1 of 6 PageID #:
                                                 1105



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
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 AHARON MILLER, et al.,                                          :
                                                                 :
                                     Plaintiffs,                 :      Case No. 1:18-cv-02192-RPK-PK
                                                                 :
          -v-                                                    :
                                                                 :
 ARAB BANK, PLC,                                                 :
                                                                 :
                                                                 :
                                     Defendant.
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                                                                 :
 NATHAN PAM, et al.,                                             :
                                                                 :
                                     Plaintiffs,                 :        Case No. 1:18-cv-04670-RPK-PK
                                                                 :
            -v-                                                  :
                                                                 :
 ARAB BANK, PLC,                                                 :
                                                                 :
                                                                 :
                                     Defendant.
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          DECLARATION OF COURTNEY G. SALESKI IN SUPPORT OF
       DEFENDANT ARAB BANK, PLC’S MOTION FOR PROTECTIVE ORDER

        I, Courtney G. Saleski, hereby declare and state as follows pursuant to 28 U.S.C. § 1746:

       1.         I am a licensed attorney with the law firm of DLA Piper LLP (US) (“DLA Piper”)

 located at One Liberty Place, 1650 Market Street, Philadelphia, PA 19103. I am in good

 standing and duly admitted to practice before this court Pro Hac Vice. I make this declaration

 in support of Defendant Arab Bank plc’s (“Arab Bank”) Motion for Protective Order in the

 above captioned matter in which DLA Piper serves as counsel for Arab Bank.
Case 1:18-cv-02192-HG-PK          Document 84-2        Filed 03/04/22      Page 2 of 6 PageID #:
                                           1106



      2.       Attached hereto as Exhibit 1 is a true and correct copy of the Declaration of

 Aiman Y. Odeh, executed on March 3, 2022.

      3.       Attached hereto as Exhibit 2 is a true and correct copy of the Declaration of

 Chakib Cortbaoui, executed on February 14, 2022.

      4.       Attached hereto as Exhibit 3 is a true and correct copy of the Declaration of

 Rasem Kamal, executed on February 28, 2022.

      5.       Attached hereto as Exhibit 4 is a true and correct copy of Plaintiffs’ First Request

 for the Production of Documents to Arab Bank, as served on July 22, 2019.

      6.       Attached hereto as Exhibit 5 is a true and correct copy of Plaintiffs’ Second

 Request for the Production of Documents to Arab Bank, as served on July 22, 2019.

      7.       Attached hereto as Exhibit 6 is a true and correct copy of Arab Bank’s Responses

 and Objections to Plaintiffs’ First Request for the Production of Documents, as served on

 August 23, 2019.

      8.       Attached hereto as Exhibit 7 is a true and correct copy of Arab Bank’s Responses

 and Objections to Plaintiffs’ Second Request for the Production of Documents, as served on

 August 23, 2019.

      9.       Attached hereto as Exhibit 8 is a true and correct copy of excerpts from the

 transcript of proceedings held on September 24, 2019, before Magistrate Judge Peggy Kuo,

 Miller ECF No. 56.

      10.      Attached hereto as Exhibit 9 is a true and correct copy of a certified English

 translation, together with a true and correct copy of the original Arabic language document, of

 the Banque du Liban’s response to the September 28, 2020, document request letter, dated

 November 11, 2020.


                                                 2
Case 1:18-cv-02192-HG-PK            Document 84-2         Filed 03/04/22    Page 3 of 6 PageID #:
                                             1107



       11.      Attached hereto as Exhibit 10 is a true and correct copy of a certified English

 translation, together with a true and correct copy of the original Arabic language document, of

 the Central Bank of Jordan’s response to the October 3, 2021, letter requesting judicial

 assistance, dated October 12, 2021.

       12.      Attached hereto as Exhibit 11 is a true and correct copy of a certified English

 translation, together with a true and correct copy of the original Arabic language document, of

 the Palestinian Minister of Justice’s response to the January 29, 2020, letter requesting judicial

 assistance, dated October 28, 2021.

       13.      Attached hereto as Exhibit 12 is a true and correct copy of archival content from

 the U.S. Department of State transcribing the interview of Former Secretary of State Colin L.

 Powell on NBC’s Meet the Press with Tim Russert in Washington, D.C., dated May 5, 2002

 (available at https://2001-2009.state.gov/secretary/former/powell/remarks/2002/9940.htm).

       14.      Attached hereto as Exhibit 13 is a true and correct copy of screenshots reflecting

 statistical data regarding fatalities endured between Israelis and Palestinians since the beginning

 of the Second Intifada in Israel and in the Occupied Territories collected and analyzed on the

 database of B’Tselem, the Israeli Information Center for Human Rights in the Occupied

 Territories (available at https://statistics.btselem.org/en).

       15.      Attached hereto as Exhibit 14 is a true and correct copy of the International Crisis

 Group (“ICG”) Middle East Report No. 13, Islamic Social Welfare Activism in The Occupied

 Palestinian Territories: A Legitimate Target?, dated April 2, 2003 (available at

 https://www.files.ethz.ch/isn/27405/013_islamic_social_welfare.pdf).

       16.      Attached hereto as Exhibit 15 is a true and correct copy of a New York Times

 article entitled Israel Cracks Down on Banks Over Payments to Palestinian Inmates, dated May


                                                   3
Case 1:18-cv-02192-HG-PK          Document 84-2       Filed 03/04/22      Page 4 of 6 PageID #:
                                           1108



 9, 2020 (available at https://www.nytimes.com/2020/05/09/world/middleeast/israel-palestinian-

 inmates-banks.html).

      17.      Attached hereto as Exhibit 16 is a true and correct copy of an excerpt from the

 book “Countering the Financing of Terrorism,” edited by T. Biersteker & S. Eckert, entitled

 Terrorism, Charities and the Diaspora, Contrasting the Fundraising Practices of Hamas and al

 Qaeda among Muslims in Europe, written by Jeroen Gunning.

      18.      Attached hereto as Exhibit 17 is a true and correct copy of the Agreement on the

 Gaza Strip and the Jericho Area, dated May 4, 1994 (available at

 https://peacemaker.un.org/sites/peacemaker.un.org/files/IL%20PS_940504_Agreement%20on%

 20the%20Gaza%20Strip%20and%20the%20Jericho%20Area%20%28Cairo%20Agreement%2

 9.pdf).

      19.      Attached hereto as Exhibit 18 is a true and correct copy of the Gaza-Jericho

 Agreement, Annex IV: Protocol on Economic Relations between the Government of the State of

 Israel and the PLO, Representing the Palestinian People, dated April 29, 1994 (available at

 https://unctad.org/system/files/information-document/ParisProtocol_en.pdf).

      20.      Attached hereto as Exhibit 19 is a true and correct copy of an Associated Press

 News article entitled Arafat Endorses Statement Recognizing Israel’s Right to Exist, dated

 December 7, 1988 (available at

 https://apnews.com/article/c151f7d45d4eb12e8cbcce74a0a5e9cc).

      21.      Attached hereto as Exhibit 20 is a true and correct copy of the “Two-State

 Solution” entry taken from the Encyclopedia Britannica website, as viewed on March 3, 2022

 (available at https://www.britannica.com/topic/two-state-solution#ref1261844).




                                                4
Case 1:18-cv-02192-HG-PK          Document 84-2         Filed 03/04/22      Page 5 of 6 PageID #:
                                           1109



      22.      Attached hereto as Exhibit 21 is a true and correct copy of a profile on the

 Palestine Liberation Organization published by the Permanent Observer Mission of the State of

 Palestine to the United Nations, New York, as viewed on March 1, 2022 (available at

 https://palestineun.org/about-palestine/palestine-liberation-organization/).

      23.      Attached hereto as Exhibit 22 is a true and correct copy of the of the Second

 Amended Complaint filed by Plaintiffs in Averbach v Cairo Amman Bank, 1:19CV00004, ECF

 No. 96 (E.D.N.Y.).

      24.      Attached hereto as Exhibit 23 is a true and correct copy of the Brief for the United

 States as Amicus Curiae filed in the Supreme Court of the United States regarding Case No. 12-

 1485, Arab Bank, PLC v. Courtney Linde, et al., dated May 2014.

      25.      Attached hereto as Exhibit 24 is a true and correct copy of the Brief for the

 Hashemite Kingdom of Jordan as Amicus Curiae Supporting Respondent filed in the Supreme

 Court of the United States regarding Case No. 16-499, Joseph Jesner, et al., v. Arab Bank, PLC,

 dated August 2017.

      26.      Attached hereto as Exhibit 25 is a true and correct copy of a United States

 Department of State press release, U.S. Relations with Jordan, dated December 30, 2020

 (available at https://www.state.gov/u-s-relations-with-jordan/).

      27.      Attached hereto as Exhibit 26 is a true and correct copy of a January 30, 2020,

 email from Brett Ingerman to Ari Ungar, et al., with the subject line “RE AB/Miller – Meet &

 Confer.”

      28.      Attached hereto as Exhibit 27 is a true and correct copy of the Motion for Leave

 to File Brief and Brief of Amicus Curiae the Hashemite Kingdom of Jordan in Support of




                                                 5
Case 1:18-cv-02192-HG-PK          Document 84-2        Filed 03/04/22      Page 6 of 6 PageID #:
                                           1110



 Petitioner filed in the Supreme Court of the United States regarding Case No. 12-1485, Arab

 Bank, PLC v. Courtney Linde, et al., dated July 2013.

       I declare under penalty of perjury that the foregoing is true and correct.


Dated: March 4, 2022
       Philadelphia, PA
                                                                  __________________________
                                                                  Courtney G. Saleski




                                                 6
